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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                              8:13CR104

     vs.

JASON FLANARY,

                 Defendant.


UNITED STATES OF AMERICA,                                8:13CR105

                 Plaintiff,
     vs.

TIMOTHY DEFOGGI, and
ZACKARY AUSTIN,

                 Defendants.

UNITED STATES OF AMERICA,

                 Plaintiff,                              8:13CR106

     vs.

RUSSELL GLENN PIERCE,
DAVID WILLIAM PEER,
JOHN DOE # 3,
JOHN DOE # 4,
JOHN DOE # 5,
JOHN DOE # 6,
JOSHUA WELCH, and
THOMAS SPENCER,

                 Defendants.

UNITED STATES OF AMERICA,

                 Plaintiff,                              8:13CR107

     vs.

JOHN DOE # 1,
JOHN DOE # 2,
JOHN DOE # 3,
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VINCENT DIBERARDINO,
JOHN DOE # 5,
MICHAEL HUYCK,
JOHN DOE # 7,
JOHN DOE # 8,
BRANDON MOORE,
JOHN SEBES, and
GARY REIBERT,

                   Defendants.

UNITED STATES OF AMERICA,

                   Plaintiff,                                    8:13CR108

       vs.
KIRK COTTOM,
JOHN DOE # 2, and
KEVIN M. PITMAN

                   Defendants.



                                         ORDER
       On May 29, 2013, the court held a Rule 17.1 conference with counsel in the
above-captioned cases. Some counsel were present in person and others participated
by conference telephone.       Since all of these cases involve the accessing of child
pornography through “Website A” and the search and seizure of defendants’ computers
and electronic storage devices, the conference was held to review the status of
discovery, including the status of the government’s forensic analysis of the seized
computers and electronic storage devices. Participating in the conference were the
following:
       For the government:               Michael P. Norris, AUSA
                                         Keith A. Becker, Attorney DOJ (By Phone)
                                         Sarah Chang, Attorney DOJ (By Phone)
       For Defendant Flanary:            Clarence E. Mock, III
       For Defendant DeFoggi:            James M. Davis (By Phone)
       For Defendant Austin:             Chad D. Primmer (By Phone)
       For Defendant Pierce:             Joshua D. Rydell (By Phone)

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                                          Justin D. Eichmann
       For Defendant Peer:                Glenn A. Shapiro
       For Defednant Welch:               Wesley S. Dodge
       For Defednant Spencer:             James J. Regan
       For Defendant Diberardino:         Stuart J. Dornan
       For Defendant Huyck:               Jerry M. Hug
       For Defendant Moore:               Dana C. Bradford, III
       For Defendant Sebes:               Adam L. Sodomsky (By Phone)
       For Defendant Reibert:             John H. Rion
       For Defendant Cottom:              Joseph F. Gross, Jr.
       For Defendant Pitman:              Julie A. Frank


       Following a discussion with counsel regarding the extent of discovery, possible
pretrial motions, the defense examination and analysis of computers and electronic
storage devices, the court determined a target date of September 6, 2013, for pretrial
motions.


       IT IS ORDERED:
       1.     Pretrial Motion Deadline. If after compliance with Rule 16 there is
necessity for the filing of pretrial motions, they shall be filed by September 6, 2013, and
that time limit will not be extended by the court except for good cause shown. In this
connection, the United States Attorney shall disclose Brady v. Maryland (and its
progeny) material as soon as practicable. Should the defendants nonetheless file a
motion for such disclosure, such motion shall state with specificity the material sought.
In the event that any motions are filed seeking bills of particulars or discovery of facts,
documents, or evidence, as part of the motion the moving party shall recite that
counsel for the movant has conferred with opposing counsel regarding the subject of
the motion in an attempt to reach agreement on the contested matters without the
involvement of the court and that such attempts have been unsuccessful. The motion
shall further state the dates and times of such conferences.



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       2.     Motions. If any pretrial motion is filed by either side, a copy thereof and
the supporting brief required by the provisions of NECrimR 12.3(b)(1) shall be
simultaneously filed. Opposing briefs shall be filed within seven (7) days thereafter.
The filing of briefs may be delayed until after an evidentiary hearing on the motion but
only upon a written request made within the original time to file a brief and upon order
of the court. Motions in limine addressed to matters at trial shall be filed no earlier than
fourteen (14) days before a scheduled trial date, and no later than two (2) business
days before trial. Any motions filed outside this time period may be summarily denied.
       3.     Continuances. Any motion for a continuance or an extension of deadlines
shall set forth the reasons why the moving party believes that the additional time should
be allowed by the court and shall justify the additional time with specific references to
the appropriate provisions(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Any
defense motion for continuance or extension of deadlines, whether of the trial date or
otherwise, shall be supported by the defendant’s affidavit or declaration, in
compliance with NECrimR 12.1(a).
       4.     Speedy Trial Act. Time under the Speedy Trial Act will be excluded from
today until September 6, 2013. The ends of justice will be served by such exclusion
and outweigh the best interest of the public and the defendants in a speedy trial. The
cases are so unusual and complex due to the number of related defendants and
charges, the nature of the prosecution, and the existence of novel questions of law that
absent such an exclusion the ends of justice would not be served as to provide
adequate preparation for pretrial proceedings and the trial itself.     See: 18 U.S.C. §
3161(7)(A) and (B)(ii).


       Dated this 29th day of May, 2013.

                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge




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